
701 S.E.2d 675 (2010)
STATE of North Carolina
v.
James Allen TURNAGE, Jr.
No. 228P08-2.
Supreme Court of North Carolina.
August 26, 2010.
Catherine F. Jordan, Assistant Attorney General, for State of North Carolina.
Emily H. Davis, Assistant Appellate Defender, for James Allen Turnage, Jr.

ORDER
Upon consideration of the petition filed by State of NC on the 10th of May 2010 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of August 2010."
Upon consideration of the petition filed on the 10th of May 2010 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of August 2010."
